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                          UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
   _____________________________________
                                           x
   UNITED STATES OF AMERICA, ex rel,       :
   WENDY BAHNSEN et al.,                   :
                                           :
                     Plaintiffs,           :    Case No. 2:11-1210
         v.                                :    (JMV/SCM)
                                           :
   BOSTON SCIENTIFIC                       :
   NEUROMODULATION CORPORATION,            :
                                           : [PROPOSED] ORDER ON MOTION FOR
                     Defendant.            : ATTORNEYS’ FEES, COSTS AND
                                           : EXPENSES PURSUANT TO 31 U.S.C.
                                           : § 3730(d)
                                           :
                                           :
   ______________________________________ x
                                           :
   BOSTON SCIENTIFIC                       :
   NEUROMODULATION CORPORATION,            :
                                           :
               Counterclaim-Plaintiff,     :
                                           :
         v.                                :
                                           :
   WENDY BAHNSEN AND CAROLINA              :
   FUENTES,                                :
                                           :
               Counterclaim- Defendants.   :
   _______________________________________X


          THIS MATTER having come before the Court on the motion of Relators’ counsel for an

   award of attorneys’ fees, costs and expenses (“Motion”), IT IS, on this ____________ day of

   _____________, 2019;

          ORDERED as follows:

          The Motion is GRANTED. Within ten (10) business days of this Order, Defendant

   Boston Scientific Neuromodulation Corporation is ordered to pay to Relators’ counsel
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   $6,628,709.50 in fees and $879,173.48 in costs and expenses related to litigating the merits of

   the case (a sub-total of $7,507,882.98), and $84,327.50 in fees and $29,698.34 in costs and

   expenses related to litigating this fee dispute (a sub-total of $114,025.84), for a total of

   $7,621,908.82.



                                       SO ORDERED.



                                       ______________________________________




                                                 2
